           Case 3:13-cr-00592-CAB                        Document 217                Filed 07/22/13              PageID.708              Page 1 of 4


     'l:.AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                Sheet 1

                                                                            (}V
                                               UNITED STATES DISTRICT COURT 13 .JUL 22 i\:\ to: 34
                                                                                                                                                               r
                                                   SOUTHERN DISTRICT OF C A L I F O R N I A · . - "::.~-.; (.il-Ni:

                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                                                                                                         (JEPlJi V
                                         v.                                        (For Offenses Committed On or After November 1, 1987)

                          FRANK TOM ATTIQ (3)                                      Case Number: 13CR0592-CAB
                                                                                    PAUL W.BLAKE
                                                                                   Defendant's Attorney
    REGISTRATION NO. 37433298

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) ONE (1) OF THE IO-COUNT SUPERSEDING INDICTMENT

     o     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                           Nature of Offense                                                                             Number(s)
18 USC 371                            CONSPIRACY                                                                                                     1




        The defendant is sentenced as provided in pages 2 through _ _4,--_ofthisjudgment The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
                                            --------------------------------------
 181 Count(s) OF INDICTMENT/SUPERSEDING INDICTMENT    is 0 are 181 dismissed on the motion ofthe United States.
 181 Assessment: $100.00

 181 See fine page                                  0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.



                                                                              Dot,oflmm=:
                                                                               JULY 19,2013




                                                                              HON. CATHY ANN BENCIVENGO
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                               13CR0592-CAB
        Case 3:13-cr-00592-CAB                      Document 217                Filed 07/22/13            PageID.709             Page 2 of 4


AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 .- Probation
                                                                                                            Judgment-Page        2    of        4
DEFENDANT: FRANK TOM ATTIQ (3)
CASE NUMBER: 13CR0592-CAB                                                                            •
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, if applicable.)
       The defendant shall not possess a frrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with t1ie requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 1690I, et seq.) as directed
       by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling. training, or other
        acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shaH not frequent places where contro\1ed substances are illega\1y sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 ll)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



                                                                                                                                      13CR0592-CAB
           Case 3:13-cr-00592-CAB                       Document 217         Filed 07/22/13            PageID.710         Page 3 of 4


       AD 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                   Sheet 3 - Special Conditions
                                                                                                        Judgment-Page --l.- of _ _4~_ _
       DEFENDANT: FRANK TOM ATTIQ (3)                                                             II
       CASE NUMBER: 13CROS92-CAB



                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
181 Not drive a motor vehicle without a valid license.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof ofprescription to the probation
  officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
o probation officer.
    Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the


D Seek and maintain full time employment and/or schooling or a combination of both.
181 Resolve all outstanding warrants within 90 days.
D Complete            hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Surrender registered firearm and any ammunition to the appropriate authorities no later than 5:00 PM on July 22, 2013. Proof of surrender
    of the firearm and ammunition is to be provided to the probation officer.




                                                                                                                                   13CROS92-CAB
          Case 3:13-cr-00592-CAB                     Document 217     Filed 07/22/13           PageID.711             Page 4 of 4




AO 2455      Judgment in Criminal Case
             Sheet 5 - Criminal MonelaIy Penalties
                                                                                                 Judgment - Page _ _4;....._ of   4

DEFENDANT: FRANK TOM ATTIQ (3)                                                            a
CASE NUMBER: I3CR0592-CAB
                                                                 FINE

      The defendant shall pay a fme in the amount of _ _ _ _$_20_0_.0_0_ _ _ _,to
                                                                              un the United States of America.




          This sum shall be paid ~ immediately.
                                   as follows:




          The Court has determined that the defendant does not      have the ability to pay interest. It is ordered that:

   ~ The interest requirement is waived.


           The interest is modified as follows:




                                                                                               13CR0592-CAB
